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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,                 :
ex rel. MYRON JONES, M.D.;                :
                                          :
STATE OF GEORGIA ex rel.                  :
MYRON JONES, M.D.; and                    :
                                          :
STATE OF TEXAS                            :
ex rel. MYRON JONES, M.D.                 :
                                          :
       Plaintiffs-Relators,               :          CIVIL ACTION NO:
                                          :          1:17-CV-2472-SDG
       v.                                 :
                                          :
MILTON HALL SURGICAL                      :
ASSOCIATES, LLC, et.al.                   :
                                          :
       Defendants.                        :

                              CONSENT JUDGMENT

      Plaintiffs, the United States of America, the State of Georgia, the Relator Dr.

Myron Jones and Defendants, Jeffrey Gallups, M.D., and Milton Hall Surgical

Associates, LLC, having entered into an agreement, and having executed and filed

into the record a Consent Judgment.

      IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Judgment

be entered in this proceeding in favor of the United States of America, the State of

Georgia, the Relator Dr. Myron Jones and against Defendants, Jeffrey Gallups,

M.D., and Milton Hall Surgical Associates, LLC, joint and severally in the amount
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of Five Million, Three Hundred and Eighty-Eight Thousand, Eight Hundred and

Sixty Three Dollars ($5,388,863.00), plus post-judgment interest at the judgment

rate, plus costs for Defendants, this 27th day of November, 2023.



                               __________________________________________
                               THE HONORABLE STEVEN D. GRIMBERG
                               UNITED STATES DISTRICT JUDGE
